Case 1:05-cr-10033-.]DT Document 46 Filed 07/14/05 Page 1 of 2 Page|D 58

§§1‘?111) F l L E D BY
United States District Court

 

JUL l lt 2005

lhomll M. Gould Clort<
U. S. memo Couri

Western District of Tennessee

W. l',l 05 TN. Jackson

United States of America )
)
vs )
)
Michael Rameriz ) Case No. 05-10033-01

CONSENT TO MODIFY CONDITIONS OF RELEASE

I, Michael Rameriz, have discussed With Carolyn W. Moore, Pretrial Services Officer,
modification of my release conditions as follows:

Defendant is ordered to report to the U. S. Pretrial Services Office as directed instead of the
U. S. Probation Office as stated in the Order Setting Conditions of Release.

I consent to this modification of my release conditions and agree to abide by this modification

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/Signatu of Defendant / Date Pretrial Ser\n/ ces Off`lcer

e conditions with my client and concur that this modification is appropriate

'7»~||~©<§

.ounsel Date

 

M’G above modification of conditions of release is ordered, to be effective on /'/BQV MO 3

[ ] The above modification of conditions of release is n_ot ordered

ignature of Judicial Oft`icer Date

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Thts document entered on the docket sheet ln compliance
with Ru|e 55 and/or 32(b) FRCrP on 1

 

DISTRIC COUR - WESTERN D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 1:05-CR-10033 Was distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listed.

 

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Honorable .l ames Todd
US DISTRICT COURT

